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                                   UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                        CRIMINAL MINUTES

 Date: October 3, 2022                Time: 1:40-1:42 PM              Judge: Edward J. Davila
                                      Total Time: 2 min

 Case No.: 5:22-CR-00217 EJD          Case Name: United States v. Daniel Castro Romero (P)(C)

Attorney for Plaintiff: Jeffrey Backhus

Attorney for Defendant: Severa Keith

  Deputy Clerk: Cheré Robinson                        Court Reporter: Summer Fisher


                                 PROCEEDINGS – STATUS CONFERENCE

Defendant present and in-custody. Hearing Held.

Court continues the matter to December 5, 2022, for further status.

Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court found the ends of justice served in granting the
continuance outweighed the best interests of the public and the defendant in a speedy trial, and excluded
time from October 3, 2022, through and including December 5, 2022. For the reasons stated on the record,
time is excluded pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv).

CASE CONTINUED TO: December 5, 2022, at 1:30 P.M. for Status Conference.

Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure, Brady v.
Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting Brady, the government
has a continuing obligation to produce all information or evidence known to the government that
is relevant to the guilt or punishment of a defendant, including, but not limited to, exculpatory
evidence.
Accordingly, the Court Orders the government to produce to the defendant in a timely manner all
information or evidence known to the government that is either (1) relevant to the defendant’s
guilt or punishment, or (2) favorable to the defendant on the issue of guilt or punishment.
This Order is entered under Rule 5(f) and does not relieve any party in this matter of any other
discovery obligation. The consequences for violating either this Order or the government’s
obligations under Brady include, but are not limited to, the following: contempt, sanction, referral
to a disciplinary authority, adverse jury instruction, exclusion of evidence, and dismissal of
charges.

EXCLUDABLE DELAY:
Category: 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv)
Begins:   October 3, 2022
Ends:     December 5, 2022

 P/NP: Present, Not Present
 C/NC: Custody, Not in Custody                                                                Cheré Robinson
 I: Interpreter                                                                             Courtroom Deputy
                                                                                              Original: Efiled
